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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT


TARAH KYE BOROZNY, et al. individually and
on behalf of all others similarly situated,   No. 3:21-cv-01657 (SVN)

                   Plaintiffs,                Class Action

      v.

RAYTHEON TECHNOLOGIES CORPORATION,            February 24, 2023
PRATT & WHITNEY DIVISION, et al.,

                   Defendants.



             DEFENDANTS’ MEMORANDUM IN OPPOSITION
            TO PLAINTIFFS’ MOTION FOR RECONSIDERATION
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                                    PRELIMINARY STATEMENT 1

           The Court’s holding that Plaintiffs must plead a plausible market in connection

    with their alleged per se claim is entirely correct. (ECF No. 582 (hereinafter “Ruling”) at

    22 n.6.) Footnote 6 is supported by relevant, binding case law, see Bogan v. Hodgkins, 166

    F.3d 509, 515 (2d Cir. 1999), and none of the cases cited in Plaintiffs’ Motion or the

    Division’s SOI suggest otherwise. The Court did not overlook any controlling decisions

    or commit any error. Nothing Plaintiffs argue in their Motion, or that the Division

    presents in its SOI, is new: the Court fully considered these arguments when it issued its

    Ruling. 2

           Moreover, this is a procedurally improper tool to obtain the relief the Plaintiffs and

    the Division are seeking. If the Plaintiffs wish to allege a nationwide class, they should

    seek leave to amend their Consolidated Amended Complaint (“Complaint”) to remedy

    their failure to allege a plausible nationwide market. See Ruling at 24. Additionally, the

    Division is actively litigating these same issues before Judge Bolden in the related

    criminal case, and it should not attempt to influence the criminal case through its SOI in

    this civil case. Accordingly, Defendants respectfully request that the Court deny

    Plaintiffs’ Motion.




1
 Defendant Raytheon Technologies Corporation, Pratt & Whitney Division (“P&W”), along with Outsourcing
Defendants Belcan Engineering Group, LLC, Cyient, Inc., Parametric Solutions, Inc., and QuEST Global Services-
NA, Inc. (collectively “Defendants”) file this opposition to Plaintiffs’ Motion for Reconsideration (ECF No. 584-1,
hereinafter “Motion” or “Mot.”) and in response to the Statement of Interest filed by the Antitrust Division of the
Department of Justice (the “Division”) (ECF No. 595, hereinafter “SOI”).
2
  Plaintiffs do not raise any new arguments beyond what was already briefed (ECF No. 465-1 at 28-30; ECF No.
524 at 26 n.17), discussed at oral argument (Mot. to Dismiss Hr’g Tr. at 46:15-47:2), and decided upon by the Court
(ECF No. 582 at 22 n.6).


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                                           ARGUMENT

A.     The Court Did Not Commit Any Error—Let Alone Clear Error—In Finding
       that Plaintiffs Must Plead a Relevant Market in Connection with Their Per Se
       Market Allocation Case.

       In denying Defendants’ Motions to Dismiss, the Court determined that Plaintiffs’

Complaint sufficiently pleaded an anticompetitive restraint in the form of a market

allocation. Ruling at 14. The Court further noted that Plaintiffs must “plead a relevant

market regardless of whether the complaint states a claim for a per se or rule of reason

violation.” Ruling at 22 n.6. The Court reached this conclusion after considering the

parties’ arguments regarding this issue—identical to those raised in Plaintiffs’ Motion.

Plaintiffs’ attempt to relitigate this issue is futile as the Court’s ruling is correct. First,

Plaintiffs must articulate a plausible market in which the restraint allegedly occurred,

which is what the law requires. See Bogan, 166 F.3d at 515. Second, the Court did not

commit clear error. The Court should deny this Motion.

       1.      Footnote 6 is Supported by Relevant, Binding Case Law.

       Courts routinely require claimants to sufficiently plead the relevant market as a threshold

matter in per se cases, especially where Plaintiffs plead a market allocation, as they do here. In

Bogan, the Second Circuit affirmatively stated that “it is an element of a per se case to describe

the relevant market in which we may presume the anticompetitive effect would occur.” Id.

Indeed, the relevant market was expressly considered at the district court level in the context

of the plaintiff’s per se claim. See Bogan v. Nw. Mut. Life Ins. Co., 953 F. Supp. 532, 546-47

(S.D.N.Y. 1997) (“[Bogan’s] definition of the relevant market as consisting only of the services

of NML agents is unacceptable. The market is properly considered the entire industry (or at least

the New York Metropolitan area), and thus any restriction on wage competition in NML’s small

share of the industry does not seriously affect such competition in the industry as a whole. Thus,


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the Metropolitan Policy cannot be considered a restriction on price competition that would fall

under the per se analysis.”); see also id. at 547 n.16 (stating that Bogan was “incorrect in

defining the proper market”). This was not a passing comment by the Second Circuit, see 166

F.3d at 515, as Plaintiffs would have this Court believe. Moreover, the Second Circuit’s

statement is entirely consistent with other courts that have considered the issue.

        For example, in Double D Spotting Service, the Eighth Circuit affirmed the dismissal of

per se claims under Rule 12 for failure to plead a relevant market, explaining that “a plaintiff

alleging a horizontal restraint must at least define the market and its participants.” Double D

Spotting Serv. v. Supervalu, Inc., 136 F.3d 554, 559 (8th Cir. 1998). The plaintiff argued that

failure to plead a relevant market did not warrant dismissal because “it [had] pleaded per se

antitrust violations.” Id. at 558. The Eighth Circuit rejected this assertion, finding that the

plaintiff had not properly alleged a per se case because it “failed to plead a valid relevant

market.” Id. at 559. Double D and Bogan directly undermine Plaintiffs’ unsupported argument

that plaintiffs do not need to allege a plausible market in connection with a per se claim.

       Other cases further explain that plaintiffs do not have a carte blanche to avoid defining a

market even where they have alleged a per se antitrust violation. See Preston Hollow Cap. LLC

v. Nuveen LLC, No. 20-CV-5597 (PKC), 2021 WL 3542255, at *3 (S.D.N.Y. Aug. 10, 2021)

(citing Bogan favorably and noting that a plaintiff must describe the relevant market even in a

per se case); NYU Hosps. Ctr. v. League of Voluntary Hosps. & Homes of New York, 318 F.

Supp. 3d 622, 631 (S.D.N.Y. 2018) (“As an initial matter, NYU is wrong that ‘[g]iven the per se

nature of the violation of Section 1 of the Sherman Act, allegations with respect to the relevant

product market . . . are not required.’”); Meijer, Inc. v. Barr Pharms., Inc., 572 F. Supp. 2d 38,

49 n.14 (D.D.C. 2008) (rejecting as “legally inaccurate Plaintiffs’ argument that a decision to

apply the per se rule does not depend on any inquiry into market definition or market power

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because that inquiry is made only after a court has decided not to apply the per se rule”) (cleaned

up).

       In per se cases based upon claims of market allocation, identifying and plausibly

describing the market alleged to have been allocated is an essential element of the claim.

Gerlinger v. Amazon.Com, Inc., 311 F. Supp. 2d 838, 851 (N.D. Cal. 2004) (“Before the court

can determine whether [an agreement] constitutes an agreement to split a market, the court must

determine what the relevant market is.”). Gerlinger explains that a court cannot allow a per se

market allocation claim to proceed without first “determin[ing] what the relevant market is.” Id.

The court in Gerlinger explained that in the Supreme Court’s decision in Palmer, “the question

was very straightforward, the market was the State of Georgia.” Id. (citing Palmer v. BRG of

Georgia, Inc., 498 U.S. 46, 47 (1990)). The court reasoned that the appropriate market definition

was required before the court could find “clear per se market allocation.” Id. With “nothing but

unsupported allegations” from the plaintiff regarding the appropriate market definition, “the

court [was] precluded from finding a per se violation such as that found in Palmer.” Id.

       Here, the Court found that the only plausible market that the alleged conduct could have

allocated was the geographic market of the State of Connecticut. Ruling at 25. With respect to

the other markets alleged—the national market and the Palm Beach, Florida and Hartford-

East/Hartford-Middletown, Connecticut markets, which the Court held were implausible—the

Court properly found that these markets could not be the basis of a per se market allocation. See,

e.g., Ruling at 23-24 (finding that Plaintiffs’ alleged national labor market and Palm Beach,




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Florida labor market for Aerospace Workers failed to plausibly define a market “in which

competition could be impaired”). 3

         This principle—that the relevant market is not obvious in some per se cases and is

therefore fundamental for plaintiffs to allege and prove given the nature of the alleged

violation—is found in numerous cases. For these reasons, Footnote 6 of the Court’s Ruling is

correct and consistent with established law, and Plaintiffs’ Motion should be denied.

         2.       Plaintiffs Fail to Demonstrate that the Court Committed Error.

         Plaintiffs’ Motion does not meet the “strict” standard for granting reconsideration.

See Van Buskirk v. United Grp. of Cos., Inc., 935 F.3d 49, 54 (2d Cir. 2019) (“The

standard for granting . . . [reconsideration] is strict, and reconsideration will generally be

denied unless the moving party can point to controlling decisions or data that the court

overlooked—matters, in other words, that might reasonably be expected to alter the

conclusion reached by the court.” ); see also Cho v. Blackberry Ltd., 991 F.3d 155, 170 (2d

Cir. 2021) (“A party may move for reconsideration and obtain relief only when the party

identifies an intervening change of controlling law, the availability of new evidence, or the

need to correct a clear error or prevent manifest injustice.”) (cleaned up); D. Conn. L. Civ.

R. 7(c)(1). The Court did not overlook any controlling precedent, there has been no change

in law, and none of Plaintiffs’ arguments seeking reconsideration are persuasive or

supported by controlling precedent.




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  It is true that in certain cases where a per se violation is alleged, most particularly price-fixing cases (unlike market
allocation cases), the specific definition of the market is not always discussed. But this is because, unlike this case,
the scope of the market is often either obvious or is not in dispute. For example, Plaintiffs rely on F.T.C. v. Superior
Court Trial Lawyers Association, where the relevant market was conspicuous and not in dispute. 493 U.S. 411, 432
n.15 (1990). As discussed further, these cases dealing with obvious markets are distinguishable. (Infra Section
A.2.a.) Plaintiffs cite cases where “the question [of market definition] was very straightforward.” Gerlinger, 311 F.
Supp. 2d at 858 (citing Palmer v. BRG of Georgia, 498 U.S. 46, 47 (1990)).


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               a.      Bogan is Controlling Law in the Second Circuit.

       Plaintiffs incorrectly question the Court’s reliance on Bogan and its progeny. Plaintiffs

attempt to discredit Bogan by asserting that “Bogan is also inapposite because it relies on two

Second Circuit decisions addressing Section 2 claims for monopolization and attempted

monopolization, where plaintiffs typically must plead a relevant market to demonstrate

monopoly power.” Mot. at 8 (emphasis in original). Even if true, Bogan is a Section 1 case

involving restrictions on labor markets and is controlling law in the Second Circuit. Moreover, it

is incorrect for Plaintiffs to assert that monopolization and attempted monopolization cases—in

which a market must logically be defined to discern the monopolization of that market—are

wholly distinguishable from market allocation claims. In a market allocation case, the pleading

must logically define the market to put defendants on notice of what market is alleged to have

been allocated or where competition is alleged to have been impaired. (See supra, section A.1.)

       Plaintiffs cannot refute that Bogan is good law that binds this Court. Additionally,

Plaintiffs ignore all of the cases upon which Bogan relies when affirming that pleading a relevant

market is required in a per se case. For example, Bogan cites NCAA v. Board of Regents, 468

U.S. 85, 104 n.26 (1984), for its conclusion that “[p]er se rules may require considerable inquiry

into market conditions before the evidence justifies a presumption of anticompetitive conduct.”

Bogan, 166 F.3d at 515-16. Plaintiffs have no authority to support their argument that Bogan

should be read to require plaintiffs to only “describe a general market”—an unsupported

alternative and lesser standard that presumably falls short of alleging a plausible market. Mot. at

8.

       Plaintiffs argue that the Court should not only disregard Bogan, but also all of the recent

district court opinions that rely on Bogan, including those cited in Footnote 6 of the Ruling:

PharmacyChecker.com, LLC v. Nat’l Ass’n of Bds. of Pharmacy, 530 F. Supp. 3d 301, 347


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(S.D.N.Y. 2021); Downtown Music Publ’g LLC v. Peloton Interactive, Inc., 436 F. Supp. 3d

754, 766 (S.D.N.Y. 2020); Singh v. Am. Racing-Tioga Downs Inc., No. 3:21-CV-0947

(LEK/ML), 2021 WL 6125432, at *9 (N.D.N.Y. Dec. 28, 2021). Pharmacy Checker is

especially instructive here. There, the district court conducted a thorough analysis of Indiana

Federation of Dentists and concluded that the “Plaintiff must allege product and geographic

markets in order to establish a per se violation.” 530 F. Supp. 3d at 347. This Court’s reliance

on the binding precedent of Bogan, and those cases relying on Bogan in Footnote 6, thus is

entirely sound.

                  b.    The Cases that Plaintiffs Cite Do Not Support Their Argument.

         Plaintiffs have mischaracterized Supreme Court jurisprudence in their effort to

circumvent Plaintiffs’ requirement to plead a plausible market. Certain Supreme Court decisions

instruct courts to not inquire into the reasonableness of per se restraints. But the fact that per se

analysis may foreclose arguments about reasonableness, and the existence of procompetitive

benefits, has nothing to do with Plaintiffs having to plausibly define the market in which the

supposed per se offense occurred. The cases cited in Plaintiffs’ Motion do not contradict this

point.

         Plaintiffs quote Northern Pacific Railway Company v. United States, 356 U.S. 1, 5

(1958), once and cite it only in passing. See Mot. at 1, 7. In that case, the Supreme Court

implicitly acknowledged the need for market definition, noting “that the vice of tying

arrangements lies in the use of economic power in one market to restrict competition on the

merits in another.” 356 U.S. at 11 (emphasis added). Moreover, nothing about the Supreme

Court’s explanation indicating that per se applies to “certain agreements or practices [that,]

because of their pernicious effect on competition and lack of any redeeming virtue,” id. at 5,

undermines Footnote 6 of the Court’s Ruling. The Ruling holds that Plaintiffs “set forth no


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allegations regarding the national labor market for Aerospace Workers” and the Complaint thus

“failed to show the national aerospace labor market is a plausible market in which competition

could be impaired.” Ruling at 24 (emphasis added). In other words, without the geographic

limitation to Connecticut—the only plausible market the Court found—the Court held that the

alleged agreement did not have a “pernicious effect on competition.” N. Pac. Ry., 356 U.S. at 5.

       Plaintiffs cite United States v. Topco Associates, Inc., 405 U.S. 596 (1972), for their

argument that “the type of ‘detailed market analysis’ required to prove a specific geographic

market is unnecessary to establish the antitrust violation and is not a required element of the

offense.” See Mot. at 4-5. However, in Topco, whether or not the Government alleged a plausible

market was not at issue. Although Topco involved an alleged market allocation agreement, the

market in Topco was entirely obvious, and specifically defined by the alleged unreasonable

restraints (“trademark licenses specifying the territory in which each member may sell [the]

products”). 405 U.S. at 605. Indeed, “[f]rom the inception of [the] lawsuit, Topco accepted as

true most of the Government’s allegations regarding territorial divisions and restrictions on

wholesaling.” Id. at 604-05. Topco is thus inapposite.

       Plaintiffs argue that F.T.C. v. Indiana Federation of Dentists, 476 U.S. 447 (1986),

“demonstrat[es] the need to dispense with market definition in a per se case.” Mot. at 4. But the

Supreme Court said no such thing. Indiana Federation is not a per se case. The Court rejected

applying per se to the alleged group boycott. 476 U.S. at 458-49. When rejecting per se

treatment, the Court signified the importance of market analysis. “[T]he per se approach has

generally been limited to cases in which firms with market power boycott suppliers or customers

in order to discourage them from doing business with a competitor.” Id. at 458 (emphasis added).




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With an explicit reference to “market power,” the court in Indiana did analyze the market; it did

not suggest that no definition of the market is required in a per se case. 4

         In F.T.C. v. Superior Court Trial Lawyers Ass’n, the geographic market—the District of

Columbia—was obvious. 493 U.S. 411 (1990). The case involved an organized boycott by

lawyers who acted as court-appointed counsel for indigent defendants in the District of Columbia

Superior Court. Id. at 414. Given the obvious and already defined geographic market, the case in

no way supports Plaintiffs’ argument that “there is no geographic limit to Plaintiffs’ per se case.”

Mot. at 3. Accordingly, none of the Supreme Court decisions discussed by Plaintiffs undermine

the Court’s finding in Footnote 6 of the Ruling or the controlling Second Circuit precedent of

Bogan with respect to requiring a sufficiently pleaded market definition. (See infra section

A.2.b.) 5

         The Court’s finding in Footnote 6 is supported by other cases cited in Plaintiffs’ Motion.

The Second Circuit in United States v. Aiyer explained that “[u]nder [the per se] rule, there is ‘no

need to study the reasonableness of an individual restraint in light of the real market forces at

work.’” 33 F.4th 97, 115 (2d Cir. 2022) (quoting Leegin Creative Leather Prods., Inc. v. PSKS,

Inc., 551 U.S. 877, 886 (2007)) (emphasis added). Aiyer is instructive in that it provides nothing

to undermine the Court’s conclusion in Footnote 6. Rather, this Second Circuit opinion actually




4
  The quote Plaintiffs rely on is found in the Court’s rule of reason analysis. Id. at 460. And, the Court did not find
that relevant market analysis is unnecessary. Rather, the Court, having defined the market (“two localities in the
State of Indiana”) held that detailed relevant market analysis is less needed in a rule of reason case where there is
evidence of actual anticompetitive effects. Id. at 460-61. That analysis has nothing to do with Plaintiffs’ per se
claims here.
5
  The Supreme Court has held that even certain price-fixing agreements should be evaluated under the rule of
reason. Broadcast Music, Inc. v. Columbia Broadcasting System, Inc. 441 U.S. 1, 19-20 (1979) (noting that in
considering the per se rule, the inquiry must focus on “whether the practice facially appears to be one that would
always or almost always tend to restrict competition and decrease output, and in what portion of the market”)
(cleaned up and emphasis added). This confirms that courts must evaluate each alleged per se claim on its own
terms, and that the allegations of market allocation in this case require a clear definition of the market that has
allegedly been allocated.


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begins with a section titled “The Relevant Market,” id. at 105, and goes on to analyze the price-

fixing and bid-rigging claims, noting the product market (foreign currency exchange trading) and

the geographic market (international), id. at 106. These markets were obvious and not in dispute.

         Finally, Plaintiffs cite an Eighth Circuit opinion in support of their position that “[n]o

proof of relevant market is required under section 1 where a per se violation is established.” Mot.

at 6 (citing TV Signal Co. of Aberdeen v. Am. Tel. & Tel., 617 F.2d 1302, 1309 n.8 (8th Cir.

1980)). The court in TV Signal cited Topco, which as explained above, is easily distinguishable

from this case. Topco, 405 U.S. at 604 (describing facts where there was no dispute regarding the

market, and where the defendant “accepted as true most of the Government’s allegations

regarding territorial divisions”). The court in TV Signal also cites to Radiant Burners, Inc. v.

Peoples Gas Light & Coke Co., 364 U.S. 656 (1961), in support of this position, but that case did

not affirmatively state that no proof of a relevant market is required and it too involved a

geographic market that was not in dispute. Further, Plaintiffs’ reliance on TV Signal disregards

more recent and relevant Eighth Circuit precedent, see Double D Spotting, 136 F.3d at 554, and

improperly focuses on dicta from an older and factually distinguishable case. (See supra, Section

A.1.)

         None of the cases Plaintiffs cite actually support their position that the Court committed

error.

                c.      Plaintiffs’ Remaining Arguments are Unpersuasive.

         Plaintiffs further attempt to undermine the Court’s ruling by citing Judge Bolden’s

opinion denying the defendants’ motion to dismiss in the related criminal action. See Order on

Mot. to Dismiss, United States v. Patel, No. 3:21-cr-00220-VAB (D. Conn. Dec. 2, 2022), ECF

No. 257. Judge Bolden’s opinion does not undermine the correctness of this Court’s application

of its relevant market analysis to Plaintiffs’ potential civil per se claim. Id. at 21. In his opinion


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denying the criminal defendants’ motion to dismiss the Indictment, Judge Bolden, constrained to

accept the Indictment’s allegations as true, recognized that “not all no poach agreements are

market allocations subject to per se treatment therefore, determining whether a no poach

agreement is a market allocation is highly fact specific.” Id. Without a defined market, an alleged

no-poach agreement may not rise to the level of a per se market allocation. Judge Bolden’s

decision is entirely consistent with the concept—and legal requirement (see supra Section

A.1)—that a factually-supported market is required to allege a market allocation claim.

       Finally, Plaintiffs grasp for support of their argument by cherry-picking from the

ABA’s Model Jury Instructions in Civil Antitrust Cases for allocation of customer or

product markets. Mot. at 6. Nothing in the model jury instructions negates the definition of a

relevant market as a necessary requirement. Rather, each set of required elements

incorporates a need to define the nature of the allocation alleged. See, e.g., ABA Section of

Antitrust Law, Model Jury Instructions in Civil Antitrust Cases, Ch. 2, Instruction 1 (2016)

(“defendant and one or more other persons agreed that [state nature of allocation alleged,

e.g., one would not submit a lower bid in the county in which the other was located]”). To

“state [the] nature of [the] allocation alleged” here, requires a definition of a plausible

relevant market, which requires both a plausible product market and a plausible geographic

market. In fact, Instruction 3 cross-references another a jury instruction that supports the fact

that a plaintiff, even in a per se case, must prove a relevant product market. See id.,

Instruction 3 (cross-referencing “Relevant Product Market – Supply Substitutability,

Chapter III.A.5”). Market definition is not limited to Section 2 cases as Plaintiffs suggest.

       Curiously, Plaintiffs do not discuss the Modern Federal Jury Instructions for

“Territorial Division of Markets,” which provide the following instruction under the heading

“Horizontal Market Allocation is Per Se Unlawful” and supports the Court’s finding in

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Footnote 6: “So, if you find that there was an agreement among the defendants, and if you

also find that the defendants were competitors in the relevant market, then you must find

that the agreement was an unreasonable restraint of trade.” 4 Modern Fed. Jury Instructions

79-42 (emphasis added). 6

         In sum, Footnote 6 is an accurate statement of the law.

B.       Plaintiffs’ Motion is an Apparent End-Run Around the Mechanisms to Properly
         Amend Their Complaint to Try to Allege a Plausible Nationwide Geographic
         Market.

         Plaintiffs and their counsel would prefer to litigate this case with allegations of a

national market allocation, because they want to expand the scope of discovery and the

scope of damages available to the purported class. But Twombly requires that only

plausibly pleaded claims survive a Rule 12 motion, precisely to avoid the burdensome

discovery and exorbitant damages claims that Plaintiffs seek here. See Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 558-59 (2007). In this case, the Court’s Ruling found that

Plaintiffs’ Complaint plausibly alleged a violation of the antitrust laws—but only to the

extent that the allegations applied to a labor market of Aerospace Workers geographically

restricted to the State of Connecticut. Ruling at 25.

         If Plaintiffs were not able to convince the Court in their pleadings—where all of the

facts were construed as true and all inferences made in favor of Plaintiffs’ case—that they

have adequately alleged a claim that applies to a nationwide class of Aerospace Workers,



6
  In a criminal case that dealt with a per se market allocation claim, the court adopted jury instructions that described
“a conspiracy to allocate or divide up radiation oncology and medical oncology services in the alleged geographical
market,” which the instructions further defined as “medical oncology treatments for cancer patients to Florida
Cancer Specialists and radiation oncology treatments for cancer patients to 21st Century Oncology in Southwest
Florida.” United States v. Harwin, No. 2:20-cr-115-VMC-KCD-1 (M.D. Fla. Sept. 23, 2022), ECF No. 302 at 19-20
(emphasis added); see also id. at 22.



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they should not be able to move forward on that market in connection with their per se

claim. The Court held that Plaintiffs did not sufficiently plead a nationwide aerospace labor

market, explaining that “Plaintiffs cannot have their cake and eat it, too, by shifting the

market at the center of this case as it suits their needs.” Ruling at 24. Simply put, Plaintiffs

failed to describe a plausible national labor market “in which competition could be

impaired.” Id.

       By bringing this Motion and seeking to reverse the Court’s clear rejection of their

allegations of a national market, Plaintiffs essentially are seeking to amend their Complaint

without moving for leave to do so, and without actually trying to allege a plausible

nationwide geographic market. Instead, Plaintiffs ask this Court to impose no geographic

limit to their per se market allocation claims. Mot. at 6. But that is not the law. (See supra

section A.1.) Plaintiffs represented to the Court at oral argument that they have “put [their]

best foot forward” with respect to pleading a relevant market, Mot. to Dismiss Hr’g Tr. at

115:18, and that was not sufficient, see Ruling at 23-24.

C.     The Division’s Statement of Interest is Not Entitled to Deference and Does Not
       Contradict Defendants’ Arguments.

       On February 13, 2023, the Division filed an SOI in this case with approval from the

Court. ECF No. 595. The SOI re-states and expands on arguments already made by

Plaintiffs, and fails to demonstrate that the Court committed clear error. The Division is

entitled to no particular deference here, as it is an advocate and seeks to advance its

enforcement agenda with a constricted view of the requirements for alleging and proving a

per se antitrust case.




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        1.      Deference to the Division’s Position Here is Not Warranted.

        Defendants urge the Court to be skeptical of the Division’s advocacy here, especially in

light of the upcoming criminal trial. Courts recognize that attempts by the executive branch to

influence a court to adopt the executive’s preferred interpretation of the law may be improper.

The court in Deslandes v. McDonald’s USA, LLC denied the Division’s motion for leave to file a

SOI in that case, noting “Article III created an independent judiciary and commands that the

independence of the judicial branch be jealously guarded.” 1:17-cv-04857 (N.D. Ill. March 3,

2022), ECF No. 452 at 4-5; cf. E.I. Du Pont De Nemours & Co. v. Smiley, 138 S. Ct. 2563, 2564

(2018) (Gorsuch, J., respecting denial of certiorari) (“Don’t serious equal protection concerns

arise when an agency advances an interpretation only in litigation with full view of who would

benefit and who would be harmed? . . . Should we be concerned that some agencies . . . have

apparently become particularly aggressive in attempting to mold statutory interpretation and

establish policy by filing ‘friend of the court’ briefs in private litigation?”) (alterations omitted).

        The Court does not owe deference to the Division’s view of the law or its application to

this case. Republic of Austria v. Altmann, 541 U.S. 677, 701 (2004) (noting that executive branch

statements of interest regarding the interpretation of the law are entitled to no deference from the

judiciary); United States v. Salus Rehab, No. 8:11-CV-1303-T-23TBM, 2017 WL 1495862, at *1

(M.D. Fla. Apr. 26, 2017) (28 U.S.C. § 517 does not provide the Department of Justice free reign

to “appear and submit argument in any case in which the United States articulates a generic

interest in the ‘development’ and ‘correct application’ of the law.”); Oscar Ins. Co. of Fla. v.

Blue Cross Blue Shield of Fla., Inc., No. 6:18-cv-1944-Orl-40EJL, 2019 WL 5295091, at *1 n.1

(M.D. Fla. Sept. 20, 2019) (same).

        The Division’s apparent purpose in “urging the Court to reconsider its conclusion” is

clear: the Division is seeking to influence the law that will be applied to the criminal


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prosecutions of several individuals in United States v. Patel. Recently, in denying those

defendants’ motion to dismiss the Indictment, Judge Bolden found that the Indictment

adequately alleged a per se market allocation claim, involving allocated employees “in a

properly defined labor market.” United States v. Patel, 3:21-cv-00220-VAB, ECF No. 257 at

*22. At trial, the Division will be required to prove that Defendants entered into “a horizontal

agreement to allocate employees in a specific labor market.” Id. By filing its SOI in this case, the

Division seeks to induce this Court to overturn itself, and thus create ambiguities or

inconsistencies in the law that may lighten the government’s burden at trial in Patel. The Court

should reject the Division’s efforts to improperly influence the Court’s Ruling to its benefit in a

separate, but related, ongoing criminal proceeding before a different Judge and different parties.

       2.      The Division’s SOI Provides No Unique or Unbiased Insight Into the Correct
               Application of the Law and is Instead Meant to Benefit Plaintiffs.

       The Division’s SOI argues: (1) that per se claims do not require a determination into the

reasonableness of the market at issue (citing United States v. Socony-Vacuum Oil Co., 310 U.S.

150, 221, 224 n. 59 (1940)) and therefore “it follows” that market definition is not required to

allege a per se case (citing United States v. Koppers Co., 652 F.2d 290, 293 (2d Cir. 1981)); and

(2) that Bogan is distinguishable as a group boycott case. SOI at 6.

       Defendants do not dispute that when analyzing per se claims, the Court does not consider

the reasonableness of the alleged conduct or whether the conduct’s procompetitive benefits

outweigh its anticompetitive effects. (See supra, Section 2.a.) That is indeed what the Second

Circuit said in Koppers. But that is all it said. The court rejected the defendant’s argument that

the jury should have been instructed on “reasonableness” of the alleged bid rigging charge. The

court, however, said nothing about defining a market in which that bid rigging occurred. Nor was

there any need to, since the bid rigging was obviously associated with state contracts in



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Connecticut. Koppers has nothing to do with the issue here—whether a plaintiff must allege a

plausible market in which its alleged market allocation occurred. For all of the reasons

addressed, the Court did not err in finding that Plaintiffs’ per se market allocation claim requires

Plaintiffs to plead a relevant market. (See supra, Section 2.a.)

         The Division also attempts to distinguish Bogan as a group-boycott case. SOI at 6. 7 In

Bogan, the court explained that not all group boycotts are per se illegal and held that the alleged

agreement did not “fit the classic model of a group boycott” that is per se illegal. 166 F.3d at

515. This is precisely what Judge Bolden said about the case before him in Patel:

         [N]ot all no poach agreements are market allocations subject to per se treatment
         and therefore, determining whether a no poach agreement is a market allocation is
         highly fact specific. For example, in Bogan, the Second Circuit found that . . . the
         conduct did not fit squarely into any of the established per se categories.

Patel, 3:21-cv-00220-VAB, ECF No. 257 at *21. The Division may be dissatisfied with Judge

Bolden’s ruling, as being “highly fact specific” may complicate their efforts to prove the alleged

no-poach “market allocation.” Judge Bolden’s analogy between the per se claim at issue in

Bogan and the per se claim brought by the Division in Patel is strong. Both require a plausible

allegation of the market impacted by the alleged conduct. Similarly, as this Court properly found,

Plaintiffs failed to set forth plausible allegations in their Complaint with respect to nationwide

and Florida markets. Ruling at 23-24. 8

         The Division’s reliance on criminal cases like Koppers is even more off-base in this civil

action, where under Section 4 of the Clayton Act, the Plaintiffs must meet the requirements of



7
 This argument is weak given the fact that Plaintiffs rely on a number of group-boycott cases themselves. See, e.g.,
Indiana Federation of Dentists, 476 U.S. 447; Sup. Ct. Trial Lawyers Ass’n, 493 U.S. 411.
8
  The bright line the Division seeks between relevant market allegations in per se and rule of reason cases was
rejected by at least one of the cases on which the Division seeks to rely. In All Care Nursing Service, the court found
that: “In dealing with group boycott situations, market analysis has found its way into the determination of whether a
given practice should be per se illegal. No longer is relevant market a factor only after it has been decided that the
rule of reason applies.” 135 F.3d 740, 748 (11th Cir. 1998).


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antitrust standing. The Supreme Court has interpreted 15 U.S.C. § 15 to mean that plaintiffs must

demonstrate antitrust injury; “[t]he injury should reflect the anticompetitive effect either of the

violation or of anticompetitive acts made possible by the violation.” Brunswick Corp. v. Pueblo

Bowl-O-Mat, Inc., 429 U.S. 477, 489 (1977) (emphasis added). Demonstration of such an injury

with respect to a market allocation claim implies that a plausible market in which that injury was

sustained must be alleged.

          Finally, the other cases the Division cites can be distinguished for a number of reasons.

They are either price-fixing or bid-rigging cases (Knevelbaard Dairies v. Kraft Foods, Inc., 232

F.3d 979 (9th Cir. 2000)); or do not explicitly hold that market definition is never required in a

per se case (Total Benefits Plan. Agency, Inc. v. Anthem Blue Cross & Blue Shield, 552 F.3d 430,

434 (6th Cir. 2008)); and, unlike Bogan, they are all non-binding decisions from outside the

Second Circuit (In re Ins. Brokerage Antitrust Litig., 618 F.3d 300 (3d Cir. 2010); Campfield v.

State Farm Mut. Auto. Ins. Co., 532 F.3d 1111 (10th Cir. 2008); TV Signal Co., 617 F.2d at

1302)).

          The Division does not make any arguments that the Plaintiffs did not make themselves,

and should not be afforded any deference. (See supra Section 3.a.) Rather, the SOI is seemingly

an attempt to put a thumb on the scale in favor of a specific party to the litigation. See Salus

Rehab, 2017 WL 1495862 at *1 (denying motion for leave to submit statement of interest where

the statement appeared calculated to duplicate one party’s arguments regarding the interpretation

of relevant law). The Court should reject the Division’s attempt to throw its weight behind a

party with whom it is aligned in a separate case, especially when the Division’s arguments have

been considered and rejected in the original motion.

          3.     The Court Should Consider the Timing of the Division’s Statement.

          Even apart from the concerns about separation of powers and improper interference in


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this litigation, the Division’s statement is untimely. LSP Transmission Holdings, LLC v. Lange,

329 F. Supp. 3d 695, 703-04 (D. Minn. 2018) (declining as a matter of discretion to consider

DOJ Antitrust Division statement of interest filed two and a half months after briefing on

motion to dismiss); United States ex rel. Gudur v. Deloitte Consulting LLP, 512 F. Supp. 2d

920, 927-28 (S.D. Tex. 2007), aff’d, No. 07-20414, 2008 WL 3244000 (5th Cir. Aug. 7, 2008)

(citing same discretionary factors and granting motion to strike statement of interest filed five

months after filing of motion for summary judgment). Briefing on Defendants’ motions to

dismiss closed on October 13, 2022, the Court held oral argument on November 16, 2022, and

the Court issued its decision on January 20, 2023. The Division then waited two weeks after

Plaintiffs filed their Motion for Reconsideration to file their SOI. When asked by Defendants,

the Division provided no excuse for its delay. The only explanation available is that the

Division would like the Court to change its mind and create an ambiguity of the law of this

Court that may benefit its pending criminal matter, which is improper for all of the reasons

described above.

                                         CONCLUSION

       Footnote 6 of the Ruling was correct, and nothing Plaintiffs have argued previously

or now argue again suggests otherwise. The Court should accordingly deny Plaintiffs’

Motion.




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Dated: February 24, 2023

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                                   FILER ATTESTATION

       I, Chahira Solh, hereby attest that concurrence in the filing of this document has been

obtained from each of the other signatories.



                                CERTIFICATE OF SERVICE

       I hereby certify that on February 24, 2023, I electronically filed the foregoing document

with the Clerk of Court using the CM/ECF system, which will send a notification of such filing to

all counsel of record.

                                                        /s/ Chahira Solh
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